                                  Case 23-11224-TMH                 Doc 1        Filed 08/21/23           Page 1 of 18


Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF DELAWARE

Case number (if known)                                                     Chapter      11
                                                                                                                         Check if this an
                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Clean Beauty Collaborative, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                   Mailing address, if different from principal place of
                                                                                                business

                                  5885 Hollis Street
                                  Suite 100
                                  Emeryville, CA 94608
                                  Number, Street, City, State & ZIP Code                        P.O. Box, Number, Street, City, State & ZIP Code

                                  Alameda                                                       Location of principal assets, if different from principal
                                  County                                                        place of business

                                                                                                Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.amyris.com


6.   Type of debtor                Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 1
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Debtor    Clean Beauty Collaborative, Inc.                                                         Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                        Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                        Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                        Railroad (as defined in 11 U.S.C. § 101(44))
                                        Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                        Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                        Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                        None of the above
                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                3254

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                        Chapter 7
     A debtor who is a “small           Chapter 9
     business debtor” must check        Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                             The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                             A plan is being filed with this petition.
                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12
9.   Were prior bankruptcy
     cases filed by or against
                                        No.
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                               When                                Case number
                                                 District                               When                                Case number




Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
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Debtor    Clean Beauty Collaborative, Inc.                                                              Case number (if known)
          Name

10. Are any bankruptcy cases                No
    pending or being filed by a
    business partner or an                  Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                         Debtor      See Rider 1 attached hereto                                  Relationship               Affiliate

                                                    District    Delaware                    When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.

                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or
    have possession of any
                                        No
    real property or personal           Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                          Why does the property need immediate attention? (Check all that apply.)
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard?
                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                     livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                   Other
                                                  Where is the property?
                                                                                   Number, Street, City, State & ZIP Code
                                                  Is the property insured?
                                                   No
                                                   Yes. Insurance agency
                                                               Contact name
                                                               Phone



          Statistical and administrative information

13. Debtor's estimation of             .       Check one:
    available funds
                                                Funds will be available for distribution to unsecured creditors.
                                                After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                 1-49                                           1,000-5,000                               25,001-50,000
    creditors                           50-99                                                                                     50,001-100,000
                                                                                        5001-10,000
(on a consolidated basis)               100-199                                        10,001-25,000                             More than100,000
                                        200-999

15. Estimated Assets                    $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
 (on a consolidated basis)              $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                        $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                        $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion


Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 3
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Debtor   Clean Beauty Collaborative, Inc.                                             Case number (if known)
         Name


16. Estimated liabilities     $0 - $50,000                             $1,000,001 - $10 million               $500,000,001 - $1 billion
 (on a consolidated basis)    $50,001 - $100,000                       $10,000,001 - $50 million              $1,000,000,001 - $10 billion
                              $100,001 - $500,000                      $50,000,001 - $100 million             $10,000,000,001 - $50 billion
                              $500,001 - $1 million                    $100,000,001 - $500 million            More than $50 billion




Official Form 201                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 4
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Debtor    Clean Beauty Collaborative, Inc.                                                         Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      August 21, 2023
                                                  MM / DD / YYYY


                             X /s/ Caroline Hadfield                                                      Caroline Hadfield
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Chief Executive Officer




18. Signature of attorney    X /s/ James E. O'Neill                                                        Date August 21, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 James E. O'Neill
                                 Printed name

                                 Pachulski Stang Ziehl & Jones LLP
                                 Firm name

                                 919 North Market Street
                                 17th Floor
                                 Wilmington, DE 19801
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     302-652-4100                  Email address      joneill@pszjlaw.com

                                 4042 DE
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
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                                  Rider 1 to Voluntary Petition

On the date hereof, each of the affiliated entities listed below, including the Debtor in this Chapter
11 Case (collectively, the “Debtors”), filed a petition in this Court for relief under chapter 11 of
title 11 of the United States Code.


1.      AB Technologies LLC

2.      Amyris Clean Beauty, Inc.

3.      Amyris Fuels, LLC

4.      Amyris, Inc.

5.      Amyris-Olika, LLC

6.      Aprinnova, LLC

7.      Clean Beauty 4U LLC

8.      Clean Beauty 4U Holdings LLC

9.      Clean Beauty Collaborative, Inc.

10.     Onda Beauty Inc.

11.     Upland 1 LLC




DOCS_DE:244016.1 03703/003
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                                         CLEAN BEAUTY COLLABORATIVE, INC.

                                                SECRETARY’S CERTIFICATE

                                                         August 21, 2023

                     This SECRETARY’S CERTIFICATE is made and delivered by Clean Beauty
              Collaborative, Inc., a Delaware corporation (the “Company”).

                     The undersigned, Doris Choi, in her capacity as the Secretary of the Company and not
              individually, does hereby certify on behalf of the Company as follows:

                  1. The undersigned is duly authorized to make, execute and deliver this Secretary’s
                     Certificate.

                  2. Attached hereto as Appendix A are true, correct and complete copies of resolutions adopted
                     by the Board of Directors of the Company (“Board”) dated August 21, 2023, which
                     resolutions were duly adopted at a meeting of the Board and in full force and effect on and
                     as of the date hereof, with no amendment or rescission thereto being in process or
                     contemplated.


                                                      [Signature page follows]
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                      IN WITNESS WHEREOF, the undersigned, in her capacity as the Secretary of the
              Company and not individually, has executed this SECRETARY’S CERTIFICATE as of the date
              first written above.


              CLEAN BEAUTY COLLABORATIVE, INC.



              By:
              Name: Doris Choi
              Title: Secretary
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                                                 
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                                                               APPENDIX A

                                                    RESOLUTIONS OF
                                               THE BOARD OF DIRECTORS OF
                                            CLEAN BEAUTY COLLABORATIVE, INC.

                                                        (a Delaware Corporation)

                                                              August 21, 2023

                                                                     ***
                         WHEREAS, the Board of Directors (the “Board”) of Clean Beauty Collaborative, Inc., a
                         Delaware corporation (the “Company”), acting pursuant to the laws of the State of
                         Delaware, has considered the financial and operational aspects of the Company’s business;

                         WHEREAS, the Board has reviewed the historical performance of the Company, the
                         market for the Company’s products, and the current and long-term liabilities of the
                         Company;

                         WHEREAS, the Board has reviewed the materials presented to it by the management of
                         and the advisors to the Company regarding the possible need to undertake a financial and
                         operational restructuring of the Company; and

                         WHEREAS, the Board has analyzed each of the financial and strategic alternatives
                         available to it, including those available on a consensual basis with the principal
                         stakeholders of the Company, and the impact of the foregoing on the Company's business
                         and its stakeholders.

                         NOW, THEREFORE, BE IT RESOLVED, that in the judgment of the Board, it is
                         desirable and in the best interests of the Company, its creditors, employees, stockholders
                         and other interested parties that a petition be filed by the Company seeking relief under the
                         provisions of chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) in
                         the United States Bankruptcy Court for the District of Delaware;

                         RESOLVED, that the Company’s Interim Chief Executive Officer, Chief Financial
                         Officer, and Chief Restructuring Officer (“CRO”), and such other officers of the Company
                         as may be designated by any of them (each, an “Authorized Officer”) be, and each of
                         them hereby is, authorized on behalf of the Company to execute, verify and file all
                         petitions, schedules, lists, and other papers or documents, and to take and perform any and
                         all further actions and steps that any such Authorized Officer deems necessary, desirable
                         and proper in connection with the Company’s chapter 11 case, with a view to the successful
                         prosecution of such case and to enable the Company to conduct its operations consistent
                         with its ordinary course of business to the extent permitted under the Bankruptcy Code;

                         RESOLVED, that the Board hereby appoints Mr. Philip J. Gund, Senior Managing
                         Director at Ankura Consulting Group, LLC, to serve as CRO of the Company, effective as
                         of the commencement of the Company’s chapter 11 case, and Mr. Gund shall be an
                         Authorized Officer, to serve in such office at the pleasure of the Board until his resignation
                         or removal, with such duties as the Board shall prescribe. Mr. Gund shall report to the
                         Restructuring Committee of the Board;
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                         RESOLVED, that the Authorized Officers, on behalf of the Company, are authorized,
                         empowered and directed to retain the law firm of Pachulski Stang Ziehl & Jones LLP
                         (“PSZ&J”) as bankruptcy counsel to represent and assist the Company in carrying out its
                         duties under chapter 11 of the Bankruptcy Code, and to take any and all actions to advance
                         the Company’s rights in connection therewith, and the Authorized Officers are hereby
                         authorized and directed to execute appropriate retention agreements, pay appropriate
                         retainers prior to and immediately upon the filing of the bankruptcy, and to cause to be
                         filed an appropriate application for authority to retain the services of PSZ&J;

                         RESOLVED, that the Authorized Officers, on behalf of the Company, are authorized,
                         empowered and directed to retain the services of Pricewaterhouse Coopers LLP (“PWC”)
                         as the Company’s financial advisor, effective as of the date the petition is filed, and in
                         connection therewith, the Authorized Officers are hereby authorized and directed to
                         execute appropriate retention agreements, pay appropriate retainers prior to and
                         immediately upon the filing of the bankruptcy, and to cause to be filed an appropriate
                         application for authority to retain the services of PWC;

                         RESOLVED, that the Authorized Officers, on behalf of the Company, are authorized,
                         empowered and directed to retain the services of Intrepid Investment Bankers LLC
                         (“Intrepid”) as the Company’s investment banker, effective as of the date the petition is
                         filed, and in connection therewith, the Authorized Officers are hereby authorized and
                         directed to execute appropriate retention agreements, pay appropriate retainers prior to and
                         immediately upon the filing of the bankruptcy, and to cause to be filed an appropriate
                         application for authority to retain the services of Intrepid;

                         RESOLVED, that the Authorized Officers, on behalf of the Company, are authorized,
                         empowered and directed to retain the services of Fenwick & West, LLP (“Fenwick”) as
                         the Company’s corporate counsel, effective as of the date the petition is filed, and in
                         connection therewith, the Authorized Officers are hereby authorized and directed to
                         execute appropriate retention agreements, pay appropriate retainers prior to and
                         immediately upon the filing of the bankruptcy, and to cause to be filed an appropriate
                         application for authority to retain the services of Fenwick;

                         RESOLVED, that the Authorized Officers, on behalf of the Company, are authorized,
                         empowered and directed to retain the services of Stretto, Inc. (“Stretto”) as the Company’s
                         claims, noticing, solicitation agent and administrative advisor, effective as of the date the
                         petition is filed, and in connection therewith, the Authorized Officers are hereby authorized
                         and directed to execute appropriate retention agreements, pay appropriate retainers prior to
                         and immediately upon the filing of the bankruptcy, and to cause to be filed an appropriate
                         application for authority to retain the services of Stretto;

                         RESOLVED, that the Authorized Officers of the Company be, and hereby are, authorized
                         and directed to employ any other professionals necessary to assist the Company in carrying
                         out its duties under the Bankruptcy Code; and in connection therewith, the officers of the
                         Company are hereby authorized and directed to execute appropriate retention agreements,
                         pay appropriate retainers prior to or immediately upon the filing of the chapter 11 case and
                         cause to be filed appropriate applications with the bankruptcy court for authority to retain
                         the services of any other professionals, as necessary, and on such terms as are deemed
                         necessary, desirable and proper by the Authorized Officers;
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                                                
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                         RESOLVED, that the Authorized Officers of the Company be, and each of them hereby
                         is, authorized and empowered to obtain postpetition financing and obtain permission to use
                         existing cash collateral according to terms which may be negotiated by the management of
                         the Company; and to enter into any guaranties and to pledge and grant liens on its assets as
                         may be contemplated by or required under the terms of such postpetition financing or cash
                         collateral agreement; and in connection therewith, the Authorized Officers of the Company
                         are hereby authorized and directed to execute appropriate loan agreements, cash collateral
                         agreements and related ancillary documents;

                         RESOLVED, that the Authorized Officers be, and each of them hereby is, authorized,
                         empowered and directed on behalf of the Companies to take any and all actions, to execute,
                         deliver, certify, file and/or record and perform any and all documents, agreements,
                         instruments, motions, affidavits, applications for approvals or rulings of governmental or
                         regulatory authorities or certificates and to take any and all actions and steps deemed by
                         any such Authorized Officer to be necessary or desirable to carry out the purpose and intent
                         of each of the foregoing resolutions and to effectuate a successful chapter 11 case,
                         including, but not limited to the development, filing and prosecution to confirmation of a
                         chapter 11 plan and related disclosure statement; and

                         RESOLVED, that any and all actions heretofore taken by any Authorized Officer or the
                         directors of the Company in the name and on behalf of the Company in furtherance of the
                         purpose and intent of any or all of the foregoing resolutions be, and hereby are, ratified,
                         confirmed, and approved in all respects.
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Fill in this information to identify the case:

Debtor name         Clean Beauty Collaborative, Inc.

United States Bankruptcy Court for the:     DISTRICT OF DELAWARE

Case number (if known)
                                                                                                                            Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

              Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
              Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
              Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
              Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
              Schedule H: Codebtors (Official Form 206H)
              Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
              Amended Schedule
              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

              Other document that requires a declaration       Corporate Ownership Statement, List of Equity Security Holders and
                                                                Creditor Matrix Certification

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       August 21, 2023                 X /s/ Caroline Hadfield
                                                           Signature of individual signing on behalf of debtor

                                                            Caroline Hadfield
                                                            Printed name

                                                            Chief Executive Officer
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
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   Fill in this information to identify the case:

   Debtor name    CLEAN BEAUTY COLLABORATIVE, INC.
   United States Bankruptcy Court for the District of Delaware
                                                                 (State)
                                                                                                                                         Check if this is an
   Case number (If known):
                                                                                                                                         amended filing




 Official Form 204
 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest
 Unsecured Claims and Are Not Insiders (on a Consolidated Basis)                                                                                       12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured
creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20 largest
unsecured claims.


   Name of creditor and complete              Name, telephone number, and email     Nature of the Indicate if claim Amount of unsecured claim
   mailing address, including zip             address of creditor contact           claim (for     is contingent, If the claim is fully unsecured, fill in only
   code                                                                             example, trade unliquidated, or unsecured claim amount. If claim is partially
                                                                                    debts, bank    disputed         secured, fill in total claim amount and
                                                                                    loans,                          deduction for value of collateral or setoff to
                                                                                    professional                    calculate unsecured claim.
                                                                                    services, and
                                                                                    government
                                                                                    contracts)                      Total claim, if Deduction       Unsecured claim
                                                                                                                     partially      for value of
                                                                                                                     secured        collateral or
                                                                                                                                    setoff
1. U.S. Bank N.A.                           Bradley Scarbrough                   1.50% Notes
   800 Nicollet Mall                        Email: bradley.scarbrough@usbank.com due 2026
                                                                                                                                                    $690,000,000.00
   Minneapolis, MN 55402

2. Cosan US LLC                             Lineu Moran                             Settlement
   920 Wayland Cir                          Tel. 215.245.2042                       Agreement
                                                                                                                                                     $10,800,000.00
   Bensalem, PA 19020                       Email: Lineu.Moran@moovelub.com

3. DB Ventures Limited                      AR Dept.                                Trade Payable Contingent,
   33 Great Portland Street                 Tel. 203.146.8877                                     Unliquidated,
                                                                                                                                                      $7,200,000.00
   London, W1W 8QG                          Email: accounts@davidbeckham.com                      Disputed

4. EPIC W12 LLC                             Tel. 212.257.0147                       Lease           Contingent
   5th Floor 15 Watts Street                                                        Rejection
                                                                                                                                                      $4,968,584.84
   New York, NY 10013

5. PMG Worldwide, LLC                       Accounting                              Trade Payable
   2845 W. 7th St                           Tel. 817.420.9970
                                                                                                                                                      $3,985,884.96
   Fort Worth, TX 76107                     Email: accounting@pmg.com

6. Nikko Chemicals Co Ltd                   Itakhiro; Katohito                      Profit
   Nihonbashi-Bakurocho 1-4-8               Tel. 81.3.3661.1677                     Distribution
                                                                                                                                                      $3,900,000.00
   Chuo-ku, 13 1030002                      Email: itakhiro@nikkolgroup.com;
                                            katohito@nikkolgroup.com;
7. Sartorius Corporation                    Support                                 Trade Payable
   24918 Network Place                      Tel. 631.254.4249
                                                                                                                                                      $3,818,648.98
   Chicago, IL 60673-1249                   Email: support@sartorius.stedim.com

8. Hearst Magazine Media                    AR Dept.                                Trade Payable
   300 West 57th Street                     Tel. 212.649.3431
                                                                                                                                                      $3,311,007.74
   28th Floor                               Email: ARDeptHSC@hearst.com
   New York, NY 10019
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  Debtor       CLEAN BEAUTY COLLABORATIVE, INC.                                           Case number (if known)
               Name




   Name of creditor and complete       Name, telephone number, and email      Nature of the Indicate if claim Amount of unsecured claim
   mailing address, including zip      address of creditor contact            claim (for     is contingent, If the claim is fully unsecured, fill in only
   code                                                                       example, trade unliquidated, or unsecured claim amount. If claim is partially
                                                                              debts, bank    disputed         secured, fill in total claim amount and
                                                                              loans,                          deduction for value of collateral or setoff to
                                                                              professional                    calculate unsecured claim.
                                                                              services, and
                                                                              government
                                                                              contracts)                      Total claim, if Deduction       Unsecured claim
                                                                                                                   partially   for value of
                                                                                                                   secured     collateral or
                                                                                                                               setoff
9. Cosmetix West                      C. Mirkovich                            Trade Payable
   2305 Utah Avenue                   Tel. 310.726.3080
                                                                                                                                               $2,909,564.18
   El Segundo, CA 90245               Email: cmirkovich@cosmetixwest.com

10. Wiley Companies                   Joshua Wiley                            Trade Payable
    PO Box 933322                     Tel. 740.622.0755
                                                                                                                                               $2,864,878.96
    Cleveland, OH 44193               Email: joshuawiley@organictech.com

11. Park Wynwood LLC                 Glenn; Jesse; Richard                    Lease           Contingent
    855 Front Street                 Tel. 415.310.9059                        Rejection
    San Francisco, CA 94111          Email:
                                                                                                                                               $2,743,339.28
                                     glenn@brickandtimbercollective.com;
                                     jesse@brickandtimbercollective.com;
                                     richard.appelbaum@kyl.com
12. Allog Transportes Internacionais Tel. 55.47.32411756                      Trade Payable
    Av. Joao Scaparo Neto,
                                                                                                                                               $2,215,494.17
    84, Bloco C,
    Campinas, SP 13080-655
13. Nest-Filler USA                  Accounting                               Trade Payable
    2334 E Valencia Drive            Tel. 714.522.7707
                                                                                                                                               $1,958,858.73
    Fullerton, CA 92831              Email: accounting@nfbeautygroup.com

14. Global4PL Supply Chain Services   Sergio Retamal                          Trade Payable
    1525 McCarthy Blvd.               Tel. 866.475.1120
                                                                                                                                               $1,757,970.86
    Suite 1008                        Email: sergio.retamal@global.4pl.com
    Milpitas, CA 95035
15. ADL Biopharma                     Tel. 34.987.895p.800                    Trade Payable
    Km. 1,100 - Edificio Gamma
                                                                                                                                               $1,586,149.14
    Alcobendas (Madrid), 28108

16. Evonik Corporation                Paul Romesburg                          Trade Payable
    P.O. Box 730363                   Tel. 707.230.1751
                                                                                                                                               $1,529,627.20
    Dallas, TX 75373                  Email: paul.romesburg@evonik.com

17. Microsoft Corporation             V. Ertr                                 Trade Payable
    6100 Neil Road                    Email: v.ertr@microsoft.com
                                                                                                                                               $1,517,283.28
    Bldg A
    Reno, NV 89511
18. Palm Beach Holdings 3940, LLC     Jose Perez                              Lease           Contingent
    801 Brickwell Ave                 Email: Jose.Perez@colliers.com          Rejection
                                                                                                                                               $1,365,708.66
    Suite 900
    Miami, FL 33131-2979
19. Todd Shemarya Artists, Inc.       Josh                                    Trade Payable
    2550 outpost drive                Tel. 323.655.3757
                                                                                                                                               $1,325,669.00
    Los Angeles, CA 90068             Email: josh@shemarya.com

20. Allure Labs, Inc.                 Sunita                                  Trade Payable Disputed
    30901 Wiegman Rd                  Tel. 510.489.8896
                                                                                                                                               $1,291,810.87
    Hayward, CA 94544                 Email: sunita@allurelabs.com

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  Debtor        CLEAN BEAUTY COLLABORATIVE, INC.                                             Case number (if known)
                Name




   Name of creditor and complete        Name, telephone number, and email     Nature of the Indicate if claim Amount of unsecured claim
   mailing address, including zip       address of creditor contact           claim (for     is contingent, If the claim is fully unsecured, fill in only
   code                                                                       example, trade unliquidated, or unsecured claim amount. If claim is partially
                                                                              debts, bank    disputed         secured, fill in total claim amount and
                                                                              loans,                          deduction for value of collateral or setoff to
                                                                              professional                    calculate unsecured claim.
                                                                              services, and
                                                                              government
                                                                              contracts)                      Total claim, if Deduction       Unsecured claim
                                                                                                                      partially   for value of
                                                                                                                      secured     collateral or
                                                                                                                                  setoff
21. Rakuten Marketing                  President; General Counsel             Trade Payable
    Suite 300                          Tel. 646.864.4718
                                                                                                                                                  $1,288,733.56
    6985 S Union Park Center           Email: president@mail.rakuten.com;
    Midvale, UT 84047                  generalcounsel@rakuten.com
22. Northwest Cosmetic Labs            AR Dept.                               Trade Payable
    2105 Boge Ave.                     Tel. 208.522.6723
                                                                                                                                                  $1,288,014.58
    Idaho Falls, ID 83401              Email: ar@elevationlabs.com

23. Shearman & Sterling LLP            A. Loeffler                            Professional
    589 Lexington Ave                  Email: ALoeffler@Shearman.com>         Services
                                                                                                                                                  $1,263,611.94
    New York, NY 10022

24. Outfront Media                     Sandra Vicente                         Trade Payable
    2640 NW 17th Ln                    Tel. 407.274.8381
                                                                                                                                                  $1,240,508.00
    Pompano Beach, FL 33064            Email: sandra.vicente@outfront.com

25. ES East, LLC                       K. Sawyer; C. Kargl; M. Buttrum  Trade Payable
    1120 Nye Street, Suite 400         Email:
    San Rafael, CA 94901               KSawyer@warehamdevelopment.com;                                                                            $1,145,204.03
                                       CKargl@warehamdevelopment.com;
                                       MButtrum@warehamdevelopment.com.
26. Gibson, Dunn & Crutcher LLP        M. Celio; C. Block               Professional
    333 South Grand Avenue             Tel. 213.229.7120                Services
                                                                                                                                                  $1,141,689.08
    Los Angeles, CA 90071              Email: MCelio@gibsondunn.com;
                                       CBlock@gibsondunn.com
27. Workday, Inc.                      Legal Dept.                      Trade Payable
    6110 Stoneridge Mall Road          Tel. 765.509.4592
                                                                                                                                                  $1,089,362.50
    Pleasanton, CA 94588               Email: legal@workday.com

28. Hollis R & D Associates            K. Sawyer; C. Kargl; M. Buttrum Lease         Contingent
    1120 Nye St                        Tel. 415.457.4964               Rejection
    Suite 400                          Email:
                                                                                                                                                  $1,079,806.07
    San Rafael, CA 94901               KSawyer@warehamdevelopment.com;
                                       CKargl@warehamdevelopment.com;
                                       MButtrum@warehamdevelopment.com
29. DSM USA                            Tel. 252.707.5326               Trade Payable
    5750 Martin Luther King Jr Hwy     Email: dnp.sfsc@dsm.com
                                                                                                                                                  $1,052,904.34
    Greenville, NC 27834

30. Nippon Surfactant Industries Co., Itakhiro; Katohito                      Profit
    Ltd (Nissa)                       Tel. 81.3.3662.0378                     Distribution
    Nihonbashi-Bakurocho 1-4-8        Email: itakhiro@nikkolgroup.com;                                                                            $1,000,000.00
    Chuo-ku                           katohito@nikkolgroup.com
    Tokyo, 1030002 JAPAN




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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE


In re:                                                     Chapter 11

CLEAN BEAUTY COLLABORATIVE, INC.,                          Case No. 23-_____ (___)

                               Debtor.


                   CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)


        Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to
evaluate possible disqualification or recusal, the undersigned authorized officer of the above-
captioned Debtor, certifies that the following is a corporation other than the Debtor, or a
governmental unit, that directly or indirectly owns 10% or more of any class of the corporation’s
equity interests, or states that there are no entities to report under FRBP 7007.1.


 None [check if applicable]

            Name:          Amyris, Inc.
            Address:       5885 Hollis Street, Suite 100
                           Emeryville, CA 94608




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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE


In re:                                                      Chapter 11

CLEAN BEAUTY COLLABORATIVE, INC.,                           Case No. 23-_____ (___)

                               Debtor.


                            LIST OF EQUITY SECURITY HOLDERS


Following is the list of the Debtor’s equity security holders which is prepared in accordance with rule
1007(a)(3) for filing in this Chapter 11 Case:



                                                                                       Percentage of
               Equity Holder                     Address of Equity Holder
                                                                                        Equity Held
                                            5885 Hollis Street
 Amyris, Inc.                               Suite 100                              56.4% Ownership
                                            Emeryville, CA 94607
                                            c/o Richard Taylor
                                            MGR Weston Kay LLP
 Rosie Huntington-Whiteley                  55 Loudoun Road,                       34.8% Ownership
                                            St. John's Wood, London
                                            NW8 0DL
                                            Rose Inc.
 Caroline Hadfield                          5885 Hollis St. Suite 100              5.90% Ownership
                                            Emeryville, CA 94608
                                            c/o Richard Taylor
                                            MGR Weston Kay LLP
 Lady Rose, LLC                             55 Loudoun Road,                       2.80% Ownership
                                            St. John's Wood, London
                                            NW8 0DL




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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE


In re:                                                                Chapter 11

CLEAN BEAUTY COLLABORATIVE, INC.,                                     Case No. 23-_____ (___)

                                   Debtor.


                           CERTIFICATION OF CREDITOR MATRIX


         Pursuant to Rule 1007-2 of the Local Rules of Bankruptcy Practice and Procedure for the
United States Bankruptcy Court for the District of Delaware, the above captioned debtor and its
affiliated debtors in possession (collectively, the “Debtors”)1 hereby certify that the Creditor
Matrix submitted herewith contains the names and addresses of the Debtors’ creditors. To the best
of the Debtors’ knowledge, the Creditor Matrix is complete, correct, and consistent with the
Debtors’ books and records.

         The information contained herein is based upon a review of the Debtors’ books and records
as of the petition date. However, no comprehensive legal and/or factual investigations with regard
to possible defenses to any claims set forth in the Creditor Matrix have been completed. Therefore,
the listing does not, and should not, be deemed to constitute: (1) a waiver of any defense to any
listed claims; (2) an acknowledgement of the allowability of any listed claims; and/or (3) a waiver
of any other right or legal position of the Debtors.




1
    A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
    claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.’s principal
    place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street, Suite 100,
    Emeryville, CA 94608.

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